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                      May 31, 2025
                                              December 2, 2024




                              Expires 5/31/2025




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         75-MAL-03 Variance (MCI, LECI, SOCF) - Expires 5/31/2025)

Remove current language in subsection VI.A.4-5 and insert subsection VI.B. below (for
Lebanon Correctional Institution, Marion Correctional Institution, and Southern Ohio
Correctional Facility).

VI.B   Legal Mail Procedures

          1. Legal mail will be opened in the presence of the Incarcerated Person by a mailroom
             staff member or warden’s designee in the designated legal mail area.

          2. If anything is found to be suspicious, or needs further investigation, the entire
             document and the envelope will be confiscated. See section C for procedures
             concerning suspected contraband.

          3. If the legal mail does not appear suspicious, or does not need further investigation,
             a designated staff member will proceed as follows:

             a. The staff member will copy the document in the presence of the Incarcerated
                Person using the designated legal mail copier with no memory capability and
                allow the Incarcerated Person to review the copy to ensure it contains the same
                number of pages as the original document.

             b. If the Incarcerated Person acknowledges that the copy contains the correct
                number of pages and is legible, the Incarcerated Person shall sign the Legal
                Mail Log (DRC2632) acknowledging that they were shown the original legal
                mail took possession of the copy. No additional copies will be made.

             c. Once the Incarcerated Person accepts the copy, the original document will be
                shredded in the presence of the Incarcerated Person using the designated legal
                mail shredding equipment.

             d. If the Incarcerated Person disputes that the copy matches the original, staff will
                check to see if an error was made, and if so, correct it.

             e. If the Incarcerated Person refuses to sign and acknowledge accepting the copy
                of the legal mail after any corrections have been made, the copy shall be
                shredded, and the original legal mail confiscated. The confiscated legal mail
                shall be returned to sender with “refused to accept delivery” placed on the
                outside of the envelope.
